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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                      :
JESSE HAMMONS
                                      :

       v.                             :   Civil Action No.       DKC 20-2088

UNIVERSITY OF MARYLAND MEDICAL        :
SYSTEM CORPORATION, et al.
                                      :

                            MEMORANDUM OPINION

       Presently pending and ready for resolution is the motion for

partial reconsideration or, in the alternative, certification of

interlocutory appeal filed by Plaintiff Jesse Hammons.                (ECF No.

56).    The issues have been fully briefed, and the court now rules,

no hearing being deemed necessary.            Local Rule 105.6.        For the

following reasons, the motion will be denied.

I.     Motion to Reconsider

       A court may grant a motion to reconsider, as relevant here,

when    the   court   committed   clear   error    resulting     in   manifest

injustice.     Carlson v. Bos. Sci. Corp., 856 F.3d 320, 325 (4th Cir.

2017).      In particularly graphic language, the Fourth Circuit has

described this basis as follows:

              As we have noted on more than one occasion,
              “[a] prior decision does not qualify for th[e]
              third exception by being just maybe or
              probably wrong; it must strike us as wrong
              with    the   force   of    a   five-week-old,
              unrefrigerated dead fish. It must be dead
              wrong.” TFWS, Inc. v. Franchot, 572 F.3d 186,
              194 (4th Cir. 2009) (internal quotation marks,
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             citations, and alteration omitted); see also
             United States ex rel. Oberg v. Pennsylvania
             Higher Educ. Assistance Agency, 804 F.3d 646,
             657 n.6 . (4th Cir. 2015); Parts & Elec.
             Motors, Inc. v. Sterling Elec., Inc., 866 F.2d
             228, 233 (7th Cir. 1988).

U.S. Tobacco Coop. Inc. v. Big S. Wholesale of Virginia, LLC, 899

F.3d 236, 258 (4th Cir. 2018).

     The court’s discretion to grant a motion to reconsider is not

limitless.        In   re    Sinclair    Broadcast    Group,       Inc.    Securities

Litigation, 473 F.Supp. 3d 529, 535 (D.Md. 2020).                         A motion to

reconsider is not an opportunity to relitigate the court’s ruling

and “mere disagreement” with a prior decision does not support

granting a motion to reconsider.            Id.

     None    of    Mr.      Hammons’    several   arguments        meet    this    high

standard.

     Mr. Hammons argues first that the court clearly erred when it

described the state action test as “synonymous” with the arm-of-

state test.       (ECF No. 56, at 5).        The use of that single word in

a lengthy analysis does not indicate any clear error.                      First, the

court acknowledged that there is overlap between the two tests—

that both tests evaluate the nature of the relationship between

the government and the corporation in question—and then the court

completed the arm-of-state analysis independent from the state

action analysis.




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     Second, Mr. Hammons argues that the court committed an error

of misapprehension in interpreting his argument to be that UMMS

waived sovereign immunity, when instead his argument was that the

General Assembly had deprived UMMS of sovereign immunity.                  (ECF

No. 56, at 9).       The court, however, when finding UMMS possessed

sovereign immunity, considered and rejected Mr. Hammons’ argument.

     The Supreme Court and United States Court of Appeals for the

Fourth Circuit are crystal clear that for a court to find that a

state government waived sovereign immunity there must be an express

waiver.   Atascadero State Hosp. v. Scanlon, 473 U.S. 234, 239-40

(1985), superseded on other grounds, as recognized in Lane v. Pena,

518 U.S. 187, 198 (1996); see FAA v. Cooper, 566 U.S. 284, 290

(2012)    (holding     “waiver   of   sovereign     immunity      must      be

‘unequivocally expressed’ in statutory text”); accord Pense v.

Maryland Department of Public Safety and Correctional Services,

926 F.3d 97, 101 (4th Cir. 2019); Lee-Thomas v. Prince George’s

Cnty. Public Schools, 666 F.3d 244, 250-51(stating that a waiver

of sovereign immunity occurs “only where stated by the most express

language or by such overwhelming implication from the text as will

leave no room for any other reasonable construction” and without

recourse to legislative history); see also Cunningham v. Lester

990 F.3d 361, 365 (4th Cir. 2021) (citing Cooper, 566 U.S. at 290)

(recognizing that “the Court explicitly and routinely construes

ambiguous text so as to obviate any inference of waiver.”).

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        Despite this clear law, Mr. Hammons argues that dicta in

Lebron v. National Railroad Passenger Corp., 513 U.S. 374, 392

(1995),    commands    a    different     result.     In    Lebron,    the   Court

considered whether Amtrak was a government entity subject to the

First Amendment.       Amtrak argued that a provision of its charter,

which    disclaimed    agency    status,     prevented      Amtrak    from   being

considered a government entity, but the Supreme Court disagreed.

Justice Scalia reasoned for the Court that, if anything, the

disclaimer indicated that Amtrak was a government entity subject

to the First Amendment because the disclaimer demonstrated that

Congress had the power to impose obligations or confer powers on

Amtrak. Justice Scalia then, in dicta, further stated “We have no

doubt, for example, that the statutory disavowal of Amtrak’s agency

status deprives Amtrak of sovereign immunity from suit.”                 Id.     The

court here is not alone in finding this to be dicta.                  See Parrett

v. Southeastern Boll Weevil Eradication Foundation, Inc., 155

Fed.Appx. 188, 191-92 (6th Cir. 2005); Wood ex rel. U.S. v. American

Institute in Taiwan, 286 F.3d 526, 531 (D.D.C. 2002).

        From this dicta, Mr. Hammons argues that the Court created a

distinction between when a legislature “waives” sovereign immunity

and when a legislature “deprives” an entity of its sovereign

immunity, and that, because the state statute creating UMMS has a

provision     nearly       identical    to   the    Congressionally       enacted

disclaimer    in   Lebron,     the     General   Assembly    deprived    UMMS     of

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sovereign immunity.         (ECF No. 56-1, at 9).           Regardless of the

label,     whether    waiving,     depriving,     or    stripping       sovereign

immunity, the action by the legislature must be explicit or

express.    The case cited by the Court for the statement about the

Amtrak statute depriving it of sovereign immunity, Sentner v.

Amtrak, 540 F.Supp. 557, 560 (D.N.J. 1982), was deciding whether

Amtrak     was    subject   to    punitive     damages,     and     stated       that

instrumentalities of the United States “may not be subject to

liability for punitive damages without the express consent of

Congress.”       The clear law on waiver which has remained consistent

pre- and post-Lebron requires the close analysis of the precise

statute and the context of the purported waiver conducted by the

court, and not superficial reliance on dicta.                    Furthermore, as

pointed out in Pense, 926 F.3d at 101-02, it may be that a state

statute waives sovereign immunity in state court, but not in

federal court.       The conclusion that the Maryland statute did not

expressly waive sovereign immunity for federal court actions will

not be revisited.

     Third, Mr. Hammons turns to the four Ram Ditta factors which

make up the arm-of-state test.         Ram Ditta By and Through Ram Ditta

v. Maryland Nat. Capital Park & Planning Com’n, 822 F.2d 456 (4th

Cir. 1987).       He argues that UMMS did not mention the Ram Ditta

factors in its initial motion to dismiss, only discussing the

factors in its reply, and thus that the court’s evaluation of the

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Ram Ditta factors was a clear error resulting in manifest injustice

because the decision was outside the adversarial issues presented

to the court by the parties.            (ECF No. 56-1, at 13).

       While a party’s failure to raise an issue waives it, trial

courts retain discretion to consider untimely made arguments when

circumstances are appropriate.               Clawson v. Fedex Ground Package

System, Inc., 451 F.Supp.2d 731, 734 (D.Md. 2006).                        Mr. Hammons

cites several cases in which a court found an argument waived

because it was not raised until the reply.                This case differs from

all of those cases, however, because UMMS did not fail to raise an

issue (sovereign immunity) but rather failed to state the standard

by which the issue would be evaluated (the arm-of-state analysis

as evaluated by the Ram Ditta factors).                    Other cases, such as

Boothe v. Northstar Realty Finance Corp., Inc., No. JKB-16-3742,

2019    WL   587419,    at   *4,       n.1    (D.Md.     Feb.    13,     2019),       find

circumstances appropriate to consider an issue fully.

       Deciding    whether      UMMS    has       sovereign     immunity      was     the

adversarial issue presented to the court.                UMMS clearly raised the

issue and it had the burden of establishing that it had sovereign

immunity.     Mr. Hammons had the opportunity to present full-fledged

opposition     arguments     to    the       existence     of    UMMS’s      sovereign

immunity.      Mr. Hammons himself knew the standard by which to

adjudicate the existence of sovereign immunity, because he invoked

the Ram Ditta factor most in his favor when opposing sovereign

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immunity (whether the state treasury pays judgments).             Evaluating

the Ram Ditta factors was necessary to completing the arm-of-state

analysis and resolving the sovereign immunity issue.

     Fourth, Mr. Hammons argues that the court erred in holding

that the second and fourth Ram Ditta factors weighed in favor of

arm-of-state status.     Those factors, respectively, are how much

autonomy the entity has from the state and how state law treats

the entity.    Ram Ditta, 822 F.2d at 458.

     Mr.    Hammons’   argument   primarily    relies       on   the   Fourth

Circuit’s Oberg trilogy of cases.    U.S. ex rel. Oberg v. Ky. Higher

Educ. Student Loan Corp., 681 F.3d 575 (4th Cir. 2012) (“Oberg I”);

U.S. ex rel. Oberg v. Pennsylvania Higher Educ. Assistance Agency,

745 F.3d 131 (4th Cir. 2014) (“Oberg II”); U.S. ex rel. Oberg v.

Pennsylvania Higher Educ. Assistance Agency, 804 F.3d 646 (4th Cir.

2015) (“Oberg III”). The court has again reviewed the Oberg cases,

as well as another Fourth Circuit precedent, Maryland Stadium

Authority v. Ellerbe Becket Inc., 407 F.3d 255 (4th Cir. 2005), but

still concludes that the second factor weighs in favor of sovereign

immunity.

     When evaluating the second factor, it is appropriate to

consider a non-dispositive set of attributes: who appoints the

entity’s directors or officers, who funds the entity, and whether

the state retains a veto over the entity’s actions.              Oberg I, 681

F.3d at 580.     Courts also consider whether an entity has the

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ability to contract, sue and be sued, and purchase and sell

property, whether it is represented in legal matters by the state

attorney general, and whether the entity has the ability to tax,

as the absence of taxation power is a strong indication that the

corporation is not an independent one.           Oberg II, 745 F.3d at 137

(cleaned up); Maryland Stadium Authority, 407 F.3d at 264.

        At issue in the Oberg trilogy was whether Dr. Oberg could sue

the Pennsylvania Higher Education Assistance Agency (PHEAA) under

the Fraudulent Claims Act, under which only “person[s]” may be

sued.    Oberg II, 745 F.3d at 135.      While a state government is not

a “person” and thus cannot be sued under the Act, local government

corporations    (such   as   counties)   and    private     corporations       are

persons and can be sued under the Act.          Id.   The arm-of-state test

articulated in Ram Ditta was the appropriate test to determine

whether the PHEAA was the state or a person.              Oberg II, 745 F.3d

at 136.

        The Fourth Circuit applied the four factors and found the

PHEAA sufficiently independent from the State of Pennsylvania to

be a “person” for the purposes of the Act at the motion to dismiss

stage and again at the summary judgment stage.             Oberg II, 745 F.3d

at 140-41; Oberg III, 804 F.3d at 646.             In doing so, the Fourth

Circuit found the second factor weighed against finding the PHEAA

an arm of the state, although the facts “cut both ways.”                   Oberg

II, 745 F.3d at 139.         On one hand, the board of directors was

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composed of gubernatorial and legislative appointees, the State

had some veto power, and the governor’s approval was needed for

the   issuing   of   notes     and   bonds.        Ultimately,      however,      the

countervailing aspects, i.e., PHEAA’s financial independence—it

receives no operational funding from Pennsylvania and is free to

enter into contracts, sue and be sued, and engage in real estate

transactions in its own name—decisively weighed in favor of finding

sufficient autonomy to negate sovereign immunity.                  Id. at 139.

      On the other hand, in Maryland Stadium Authority, the Fourth

Circuit, using the Ram Ditta factors, held that the University

System of Maryland was an alter ego of the State of Maryland, and

therefore was not a citizen for purposes of diversity jurisdiction.

407 F.3d at 256.     In reaching that conclusion, the Fourth Circuit

determined that the second factor weighed in favor of finding the

University System an alter ego.           It did so by acknowledging that

the University System retained “some operational independence in

its day to day activities,” but that it was still closely tied to

the State because the University’s board members are appointed by

the Governor, a key indication of state control, and the State

retains a veto over many of the University System’s actions.                      Id.

at 264.    For example, the University System can only buy and sell

real property and enter contracts over $500,000 with the approval

of the legislature or Board of Public Works, and the University

System is subject to an annual audit. Id.                The University System

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also needs legislative approval to issue revenue bonds and it lacks

the power to tax. Id.

     UMMS is somewhere between the University System and the PHEAA.

All three entities share traits, as befits creations of their

respective states: membership of their operating boards is set by

their respective governors and legislatures, and they all lack the

important taxation power.     They differ in who represents them (the

Attorney General seemingly only represents the University System)

and in their financial independence. Whereas the University System

receives an annual appropriation from the State, the PHEAA and

UMMS apparently do not.

     The University System does, however, have traits in common

with UMMS and the PHEAA, such as the independence to form contracts

and buy and sell assets.           The University System and UMMS are

further alike in that Maryland has retained oversight as to how

the respective entities conduct their business.               While the State

must approve what the University System can spend in contracts and

real estate sales at a certain value, it prohibits UMMS from

competing with the University System for private and federal gifts

or grants.   Napata v. University of Maryland Medical System Corp.,

417 Md. 724, 737 (2011).      Moreover, UMMS’s annual contracts must

be approved by the Regents of the University System.               Id.

     Mr. Hammons argues that UMMS is the same as the PHEAA because

Pennsylvania   restricts     the   PHEAA’s   financial        independence     by

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requiring State approval for both expenditures and contracts in

excess of $20,000, and Maryland does not impose such oversight on

UMMS.     Mr. Hammons is essentially arguing that because a more

heavily overseen corporation (PHEAA) was autonomous from the state

government, a less heavily overseen corporation (UMMS) must also

be found autonomous.     (ECF No. 56-1, at 17); Oberg III, 804 F.3d

at 673.    That argument ignores the fact that the University System

also is subject to less oversight than PHEAA—the University System

can enter into contracts and real estate sales without approval of

the State as long as they are under $500,000—but was still found

to be part of the state by the Fourth Circuit.              Maryland Stadium

Authority, 407 F.3d at 264.        The comparison Plaintiff attempts

thus fails.

        Moreover, the University System’s continued control over UMMS

further indicates that UMMS’s autonomy is somewhere between that

of UMMS and the PHEAA.       The Fourth Circuit has repeatedly found

that universities, including the University System, are part of

their state governments under the arm-of-state test.                UMMS was

originally part of the University System, and the current iteration

of UMMS came into being when it was removed from the University

System and given its own structure.        Napata, 417 Md. at 728; MD.

CODE EDUC. § 13-302(5)-(6).      Nonetheless, the University System

retains control over UMMS—whether that is through the requirement

that the Regents of the University System approve UMMS’s annual

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contract or the power to dissolve UMMS.                  Napata, 417 Md. at 737.

Moreover, in the event UMMS is dissolved, its assets revert to the

State (which provided it with its assets in the first place).                             Id.

This        continued   interrelationship        with    the    University          System

further indicates that UMMS’s autonomy is somewhere between the

University System’s and the PHEAA’s.

        Mr. Hammons also argues that the court committed clear error

in weighing the holding in Napata more heavily than the language

of the statute creating UMMS.             (ECF No. 56-1, 18).              In evaluating

the fourth factor courts may look at state law in all its formats,

including       the     holdings   of    state      courts.      Maryland          Stadium

Authority, 407 F.3d at 265.             While Mr. Hammons may disagree with

the way in which the court evaluated state law, mere disagreement

is    an     insufficient    basis      for   the    granting        of     a   motion    to

reconsider.        In re Sinclair, 473 F.Supp. 3d at 535.1

        The motion to reconsider is denied.

II.     Certification of Interlocutory Appeal

        Mr. Hammons, in the alternative, asks the court to certify

its order granting the motion to dismiss for an interlocutory




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       Mr. Hammons also attempts to argue that the fourth factor
should be neutral because UMMS has not invoked sovereign immunity
against medical malpractice lawsuits. (ECF No. 56-1, at 19). This
argument is similarly unavailing because a state consenting to
suit in courts of its own creation or stating its intention to sue
or be sued does not waive sovereign immunity.      Lee-Thomas, 666
F.3d at 251.
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appeal.       Generally, certification for an interlocutory appeal is

only appropriate for cases where there is a narrow question of

pure law whose resolution will be completely dispositive of the

litigation, not just where “early review of difficult rulings in

hard    cases”    would       be   convenient.          Lynn    v.   Monarch     Recovery

Management, Inc., 953 F.Supp. 2d 612, 623 (D.Md. 2013).                                  The

court’s power to certify an interlocutory order for appeal is found

in 28 U.S.C. 1292(b), which permits the court to certify when the

“order [1] involves a controlling question of law [2] as to which

there is substantial ground for difference of opinion and [3] that

an immediate appeal from the order may materially advance the

ultimate termination of the litigation.”                    The decision to certify

is a discretionary one, but that discretion may not be exercised

unless     all   three    §    1292(b)       factors     are   present.         Butler    v.

DirectSAT USA, LLC, 307 F.R.D. 445, 452 (D.Md. 2015).

        The   first   factor       is   not    present.        For      the   purposes   of

§ 1292(b), a “question of law” refers to a “question of the meaning

of a statutory or constitutional provision, regulation, or common

law doctrine.”        Butler, 307 F.R.D. at 452.               The model “controlling

question of law” is one that is a “narrow question of pure law

whose     resolution      would         be    completely       dispositive        of     the

litigation.”       Fannin v. CSX Transp., Inc., 873 F.2d 1438, at *5

(4th Cir. 1989)(unpublished).                 Other questions of law that are

“heavily freighted with the necessity of factual assessment” are

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not suitable for immediate appeal.            Resolving the legal question

of sovereign immunity would not be completely dispositive of the

litigation.

        Neither is the second factor present.             Whether there is a

substantial ground for difference of opinion does not refer to a

difference of opinion between the parties, or even between the

parties    and   the   court,   but   rather    a   substantial     ground      for

difference of opinion between courts.               Lynn, 953 F.Supp. 2d at

6245.     In matters of first impression, “the mere presence of a

disputed issue that is a question of first impression, standing

alone, is insufficient to demonstrate a substantial ground for

difference of opinion.” Id. (quoting In re Flor, 79 F.3d 281, 284

(2d. Cir. 1996)) (cleaned up).           As noted in the court’s order,

relevant case law is scant, and even more so on Mr. Hammons’ theory

that Lebron and the language of the statute in this case “deprive”

UMMS of sovereign immunity.        Given the absence of cases, it cannot

be said there is a difference of opinion between courts.                   While

Mr. Hammons tries to fabricate a disagreement, by arguing that the

court here disagrees with the Supreme Court, this is more clearly

a matter of first impression, and matters of first impression,

standing alone, are not substantial grounds for a difference of

opinion.     (ECF No. 61, at 17).

        Finally, the third factor also is not present.           Certification

“materially advances” litigation when it helps the courts avoid

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protracted     litigation     and   piecemeal     appeals,      but    simply

“speed[ing] up” litigation is an insufficient reason to certify an

interlocutory appeal.       Lynn, 953 F.Supp.2d at 626 (2013).        Rather,

“in determining whether certification will materially advance the

ultimate termination of the litigation, a district court should

consider whether an immediate appeal would:             (1) eliminate the

need for trial, (2) eliminate complex issues so as to simplify the

trial, or (3) eliminate issues to make discovery easier and less

costly.”     Id. (cleaned up).      Certifying an interlocutory appeal

here does none of those things.        First, interlocutory appeal or

not, the need for a trial will remain.          Second, an interlocutory

appeal, if successful, would not eliminate complex issues and

simplify trial, but instead reinstate two claims for trial. Third,

an interlocutory appeal, if successful, would increase the number

of claims litigated, potentially making discovery more difficult

and costly.

     Moreover, Mr. Hammons’ primary argument for certification

amounts to nothing more than a “speed up” argument.                He argues

that an interlocutory appeal would settle the sovereign immunity

issue one way or another, obviating the danger of a post-trial

appeal reversing the trial court and necessitating a re-trial of

all three issues.    (ECF No. 56-1, at 23).      This argument, however,

ignores that even if an interlocutory appeal occurred and the

Fourth Circuit affirmed the trial court, the possibility remains

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that Mr. Hammons or UMMS would take an appeal from the subsequent

trial result.    There is no guarantee an interlocutory appeal would

materially advance litigation.           The requirements necessary to

permit   the   court   to     exercise   its   discretion        to    certify    an

interlocutory appeal are not met and the court denies Mr. Hammons’

motion to certify an interlocutory appeal.

III. Conclusion

     For   the    foregoing       reasons,     the     motion         for   partial

reconsideration    or,   in    the   alternative,     for       certification     of

interlocutory appeal filed by Plaintiff will be denied. A separate

order will follow.



                                                    /s/
                                          DEBORAH K. CHASANOW
                                          United States District Judge




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